      Case 2:14-cr-00043-KJM Document 320 Filed 11/29/17 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Chief Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     JOSEPH ROBERT SHARPE
6
7
                                IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    )   Case No. 2:14-cr-043 GEB
                                                  )
11                          Plaintiff,            )   STIPULATION AND [PROPOSED] ORDER
                                                  )   TO CONTINUE STATUS CONFERENCE
12         v.                                     )
                                                  )
13   JOSEPH ROBERT SHARPE,                        )   Date: December 1, 2017
                                                  )   Time: 9:00 a.m.
14                          Defendant.            )   Judge: Hon. Garland E. Burrell, Jr.
                                                  )
15
16          IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
17   Attorney, through Amy Hitchcock, Assistant United States Attorney, attorney for Plaintiff, and
18   Heather Williams, Federal Defender, through Assistant Federal Defender Benjamin D.
19   Galloway, attorneys for Joseph Sharpe, that the status conference scheduled for December 1,
20   2017, at 9:00 a.m., be vacated and the matter continued to January 5, 2018, at 9:00 a.m., for

21   further status conference, as to defendant Joseph Robert Sharpe, only.

22          The parties continue to meet and confer, and these discussions have prompted additional

23   factual and legal points of investigation and research for the defense. Thus, this continuance is

24   necessary to allow the defense additional time to review discovery, investigate the facts of the
     case, analyze relevant law and application of the Sentencing Guidelines, hold discussions in
25
     furtherance of a negotiated resolution, and otherwise prepare for trial.
26
            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
27
     excluded of this order’s date through and including January 5, 2018; pursuant to 18 U.S.C.
28

      Stipulation and Proposed Order                  -1-
       Case 2:14-cr-00043-KJM Document 320 Filed 11/29/17 Page 2 of 3


1    §3161 (h)(7)(A) and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
2    based upon continuity of counsel and defense preparation.

3             Counsel and the defendants also agree that the ends of justice served by the Court

4    granting this continuance outweigh the best interests of the public and the defendants in a speedy

5    trial.

6    DATED: November 28, 2017
                                                   Respectfully submitted,
7
                                                   HEATHER E. WILLIAMS
8
                                                   Federal Defender
9
                                                   /s/ Benjamin D. Galloway
10                                                 BENJAMIN D. GALLOWAY
                                                   Chief Assistant Federal Defender
11                                                 Attorney for JOSEPH ROBERT SHARPE
12
13   DATED: November 28, 2017                      PHILLIP A. TALBERT
                                                   United States Attorney
14
                                                   /s/ Amy Hitchcock
15                                                 AMY HITCHCOCK
                                                   Assistant United States Attorney
16                                                 Attorney for Plaintiff

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      Stipulation and Proposed Order                 -2-
      Case 2:14-cr-00043-KJM Document 320 Filed 11/29/17 Page 3 of 3


1                                               ORDER
2           IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence.     The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendants in a speedy trial.
8           The Court orders the time from the date the parties stipulated, up to and including
9    January 5, 2018, shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the December 1, 2017 status conference, as to defendant, Joseph Robert
13   Sharpe, shall be continued until January 5, 2018, at 9:00 a.m.
14   Dated: November 28, 2017
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      Stipulation and Proposed Order                 -3-
